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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Anthony Edwards, Individually and on Behalf
 of All Others Similarly Situated,

           Plaintiff,
                                                       Civil Action No. 1:20-cv-2867
 v.

 Hudspeth & Associates, Inc.,

           Defendant.


                         JOINT NOTICE REGARDING SETTLEMENT


       COME NOW Plaintiff Anthony Edwards and Defendant, Hudspeth & Associates, Inc., by

and through their undersigned counsel, and for their Joint Notice Regarding Settlement, state as

follows:

       1.        On May 21, the Parties moved this Court for approval of the settlement reached

between them.

       2.        In its Order on May 26, this Court expressed doubt as to whether its approval was

necessary for the Parties to achieve the aims of their settlement.

       3.        The Court instructed the Parties to prepare a Notice indicating whether or not the

Parties continue to seek the Court’s approval of the settlement.

       4.        The Court further instructed the Parties that, should approval not be sought moving

forward, the Parties should indicate in their Notice that they stipulate to dismissal pursuant to Rule

41(a)(1)(A)(ii).




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       5.      The purpose of this Notice is to inform the Court that approval is no longer sought

for the Parties’ settlement. However, the Parties request that the Court retain jurisdiction over the

matter for the limited purpose of enforcing the settlement, if needed.

       6.      The Parties intend to file a Stipulation of Dismissal once their updated settlement

agreement is executed, which the Parties anticipate will be within one week. The Stipulation of

Dismissal will request that the Court retain jurisdiction over the matter for 90 days.

Respectfully submitted:

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                                                   STEWART, P. C.
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